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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 19-0935V
                                          UNPUBLISHED


    JUDSON COSTLOW,                                             Chief Special Master Corcoran

                         Petitioner,                            Filed: December 4, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Guillain-
                                                                Barre Syndrome (GBS)
                         Respondent.


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for petitioner.

Ronalda Elnetta Kosh, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On June 27, 2019, Judson Costlow filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that he suffered Guillain-Barré syndrome (“GBS”)
caused in fact by the influenza vaccine he received on September 16, 2016. Petition at
1, ¶¶ 2, 20. The case was assigned to the Special Processing Unit of the Office of Special
Masters.

      On October 30, 2020, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for his GBS. On December 4, 2020, Respondent filed a proffer on award
of compensation (“Proffer”) indicating Petitioner should be awarded $125,000.00,
representing compensation for his pain and suffering. Proffer at 1. In the Proffer,


1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $125,000.00, representing compensation for his pain and
suffering, in the form of a check payable to Petitioner. This amount represents
compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
JUDSON COSTLOW,                      )
                                     )
                                     )
            Petitioner,             )
                                    )   No. 19-0935V
      v.                            )   Chief Special Master Corcoran
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
____________________________________)

             RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On June 27, 2019, Judson Costlow (“petitioner”) filed a petition for compensation under

the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1 to -34 (“Vaccine Act”

or “Act”), for an injury petitioner allegedly sustained as a result of an influenza (“flu”)

vaccination administered on September 16, 2016. Petition at 1. Petitioner alleges that he

suffered Guillain-Barré Syndrome (“GBS”), which is an injury listed on the Vaccine Injury

Table for the flu vaccine. On October 30, 2020, the Secretary of Health and Human Services

(“respondent”) filed a Supplemental Rule 4(c) Report indicating that this case is appropriate for

compensation under the terms of the Act for a GBS Table injury, and on October 30, 2020, the

Chief Special Master issued a Ruling on Entitlement finding petitioner entitled to compensation.

ECF No. 20; ECF No. 23.

I.     Items of Compensation

       A.      Pain and Suffering

       Respondent proffers that petitioner should be awarded $125,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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II.    Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $125,000, in the form of a

check payable to petitioner.

III.   Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Judson Costlow:                              $125,000.00

                                                             Respectfully submitted,

                                                             JEFFREY BOSSERT CLARK
                                                             Acting Assistant Attorney General

                                                             C. SALVATORE D’ALESSIO
                                                             Acting Director
                                                             Torts Branch, Civil Division

                                                             CATHARINE E. REEVES
                                                             Deputy Director
                                                             Torts Branch, Civil Division

                                                             DARRYL R. WISHARD
                                                             Assistant Director
                                                             Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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                                              s/ Ronalda E. Kosh
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DATED: December 4, 2020
